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                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF ALASKA


JACLYN CABALES AND JONATHAN                   Case No. 4:14-cv-00013-JWS
CABALES,
          Plaintiffs,                         UNITED STATES’
                                              MOTION TO DISMISS
      v.                                      CLAIMS FOR DAMAGES
                                              AGAINST THE
ALBERT E. MORGAN, D.C., ARCTIC                UNITED STATES FOR
CHIROPRACTIC BETHEL, LLC, and                 FAILURE TO FILE A CLAIM
CHRISTOPHER F. TWIFORD, D.C.,                 UNDER 28 U.S.C 2401(b)
           Defendants,

      v.

UNITED STATES OF AMERICA,
           Third-Party Defendant.

      The United States moves, pursuant to Fed. R. Civ. Pro. 12(b)(1) and (6),

to dismiss any claims for damages or monetary recovery against the United

States due to Plaintiffs’ failure to file a timely claim under 28 U.S.C. 2401(b).



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This motion is supported by the concurrently filed memorandum and the

pleadings and exhibits referenced therein.

       RESPECTFULLY SUBMITTED, on October 16, 2014, in Anchorage,

Alaska.

                                                 KAREN L. LOEFFLER
                                                 United States Attorney

                                                 s/Gary M. Guarino
                                                 GARY M. GUARINO
                                                 Assistant U.S. Attorney
                                                 Attorney for the Defendant


CERTIFICATE OF SERVICE

I hereby certify that on October 16, 2014,
a copy of the foregoing MOTION TO
DISMISS CLAIMS FOR DAMAGES
AGAINST THE UNITED STATES FOR
FAILURE TO FILE CLAIM UNDER
28 U.S.C 2401(b) was served electronically on:

Myron Angstman
Robert Campbell
Michael J. Hanson
John P. Cashion
Dennis E. Boyle

s/ Gary M. Guarino
Office of the U.S. Attorney




Cabales v. Morgan, et al.
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